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STATE OF INDIANA )

) SS: IN THE DELAWARE CIRCUIT COURT 2
COUNTY OF DELAWARE -)
STATE OF INDIANA,
Vs.

Cause No. 18D02-9204-CF-46

Ne Ne et Ne

WILLIAM E. BARNHOUSE,

ORDER VACATING CONVICTIONS AND GRANTING NEW TRIAL

This matter is before the Court on a certain Joint Motion for New Trial and being duly
advised in the premises now finds that the Motion is well taken and should be GRANTED.

IT IS THEREFORE ORDERED ADJUDGED AND DECREED by the Court that
that the previously-entered Judgments of Conviction and sentence to the Indiana Department of
Corrections on all counts in this cause are hereby VACATED. As a result, Indiana Department
of Corrections no longer has jurisdiction over Defendant William Barnhouse. Accordingly, the
Court hereby reinstates the Defendant’s plea of Not Guilty that had been previously entered at
the initial hearing.

IT IS THEREFORE ORDERED ADJUDGED AND DECREED that the Sheriff of
Delaware County hereby immediately release Mr. Barnhouse forthwith in accordance with the

Order on Joint Motion for Release entered Ue with this Order.

SO APPROVED AND ORDERED THIS gt DAY OF _/ OAC, 2017.

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KIMBERLY DOWLING, JUDGE
DELAW CIR: OURT NO. 2

 

 
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